  22-50929-mmp Doc#357 Filed 10/18/23 Entered 10/18/23 19:47:07 Ntc/Hrg BK intp/20lrg
                                     Pg 1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                               Bankruptcy Case
                                                                               22−50929−mmp
                                                                          No.:
                                                                  Chapter No.: 11
                                                                        Judge: Michael M Parker
IN RE: Highpoint Lifehope SPE, LLC , Debtor(s)




                                       NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

          San Antonio Courtroom 1, Hipolito F. Garcia Fed Bldg & Courthouse, 615 E. Houston St., San
     at   Antonio, TX 78205

     on   11/1/23 at 09:30 AM

     Hearing to Consider and Act Upon the Following: (IF TIME ESTIMATE EXCEEDS 20 MINUTES,
     PLEASE E−MAIL DEANNA CASTLEBERRY AT: deanna_castleberry@txwb.uscourts.gov.)(Relate d
     Document(s): 356 Interim Application for Compensation, Fees $107,774.50, Expenses $6,086.82, For
     December 1, 2022 To August 31, 2023 filed by Natalie F. Wilson for Attorney Langley & Banack, Inc.
     Hearing Scheduled For 11/1/2023 at 9:30 AM at SA Courtroom 1 (Castleberry, Deanna)


Dated: 10/18/23
                                                         Barry D. Knight
                                                         Clerk, U. S. Bankruptcy Court




                                                                                         [Hearing Notice (BK)] [NtchrgBKap20]
